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August 31, 2011
REDACTED VERSION

The Honorable Leonard P. Stark
United States District Court

844 North King Street
Wilmington, Delaware 19801

Re:  SoftView LLC v. Apple Ine. et al., Civil Action No. 10-cv-389-LPS

Dear Judge Stark:

We write on behalf of Plaintiff SoftView LLC to request an order compelling Defendant
Apple Inc. to collect and produce the relevant documents of certain Apple employees.

This case involves SoftView's patented technology for the scalable display of Web
content on the screens of mobile devices. Because mobile device screens are smaller than those
of desktop computers, users typically must zoom and pan on those devices to make use of Web
content. Scalable display permits rapid zooming and panning while preserving the original
layout and functionality of the Web content. Zooming with pinch gestures and panning with
finger flicks are common and widely adopted today on mobile devices, But when SoftView
invented and developed the patented technology in 1999 and 2000, it was a breakthrough
technology quite unlike the mobile display systems of the time, which did not preserve layout
and made it difficult, if not impossible, to view and use Web content.

The iPhone, iPod touch, and iPad are the accused Apple devices in this case. Apple first
introduced the iPhone in 2007. The iPhone runs Apple's "iOS" operating system and displays
Web pages using Apple's Mobile Safari browser. Web pages in Mobile Safari are rendered (ze.,
drawn) so that original layout is preserved and a user can zoom and pan. The iPod touch and
iPad have incorporated this functionality. The Mobile Safari application does not accomplish
these functions all on its own. Instead, it makes use of an underlying layout engine called
WebKit. See Ex. 1, What Is Safari?, available at http://www.apple.com/safari/what-is.html

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("WebKit is the technology at the heart of Safari."), Mobile Safari also uses various components

in the iOS for graphics operations. These other components include Quartz, Cocoa Touch and
other components. See Ex. 2, iOS Cocoa Touch, available at http://developer.apple.com
/technologies/ios/cocoa-touch.html; Ex. 3, iOS Graphics & Animation, available at
http://developer.apple.com/technologies/ios/graphics-and-animation.html. Each of these
components is important for the ultimate functions of zooming and panning Web content while
preserving original layout.

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SoftView seeks Apple's technical documents relating to zooming, panning, and the
rendering of Web content. In its document requests served last December, SoftView informed
Apple that certain individuals were highly likely to possess relevant technical documents and
that those documents should be produced. Ex. 4, SoftView LLC's First Set of Requests for
Production to Apple Inc. at 8 ("Request For Production No. 8: All DOCUMENTS created or
revised by David Hyatt, Bill Dudney, Allan Schaffer, Richard Williamson, Darin Adler, Marciej
Stachowiak, Adele Peterson, John Stauffer, Michael Levy, Andrew Platzer, or Richard Schreyer
which RELATE TO WebKit, Mobile Safari, Safari, Quartz, Quartz 2D, Core Animation, iOS or
Cocoa Touch.").

Soon thereafter, Apple identified Darin Adler (one of the individuals originally named in
SoftView's request) in response to interrogatories requesting identification of those "most
knowledgeable regarding the structure, operation, and function of Apple devices with regard to
the rendering of Web pages" and "with regard to zooming and panning." Ex. 5, Apple's
Objections and Responses to SoftView LLC's First Set of Interrogatories (Nos. 1-10), Jan. 3

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WebKit—is "a layout engine designed to allow web browsers to render web pages." Ex.
12, WebKit Wikipedia Page, available at http://en.wikipedia.org/wiki/WebKit.

For these reasons, SoftView requests an order from the Court compelling Apple to collect
and produce relevant documents! from the following custodians: Bill Dudney, Michael Levy,
Adele Peterson, Allan Schaffer, Richard Schreyer, Maciej Stachowiak, and John Stauffer.

1 In light of Apple's stated reasons for refusing to collect these custodians’ documents,
SoftView is currently conferring with Apple regarding the production of relevant documents
(from undisputed custodians) and the determination of relevance as it affects Apple's responses
to SoftView's requests for production. SoftView reserves its rights but is seeking through these
discussions, coupled with an order from the Court compelling the collection of the disputed
custodians’ documents, to avoid the need for further Court intervention with respect to
production of relevant Apple technical documents.

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Sincerely,

/s/ Steven Caponi

- Steven Caponi
cc: All Counsel of Record

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EXHIBITS 6 THROUGH 11 REDACTED IN THEIR ENTIRETY

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